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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             JACKSON DIVISION

CORNELIUS TAYLOR, #K3171                                             PLAINTIFF

VS.                                          CIVIL ACTION NO. 3:04CV520BN

CMCF 720 CLINIC, ET AL                                              DEFENDANTS


                         MEMORANDUM OPINION AND ORDER

      The Plaintiff Cornelius Taylor, pro se, and counsel for the

Defendants, John L. Clay and M. Chadwick Smith, appeared before the

undersigned United States Magistrate Judge on the 13th day of May,

2005, at the James Eastland Federal Building and Courthouse in

Jackson, Mississippi, for an omnibus hearing.          The Court scheduled

this hearing for various pretrial purposes, including a Spears

hearing.    The Court conducted this hearing in an attempt to insure

the just, speedy and inexpensive determination of this pro se

prisoner litigation and to determine whether or not the Plaintiff's

claims were supported by a factual or legal basis.               Pursuant to a

Consent signed by all parties on May 13, 2005, District Judge

William H. Barbour, Jr. entered an Order filed May 31, 2005,

assigning this cause to the undersigned United States Magistrate

Judge for all further proceedings.

      According     to    Plaintiff’s   sworn   testimony   at    the   omnibus

hearing, his claims relate to the medical care he received after

suffering    a    heart    attack   while   incarcerated    at    the   Central

Mississippi Correctional Facility as a convicted felon.                     The
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Plaintiff is a registered nurse.           In the late hours of December 2,

2003, and into the morning of December 3, 2003, another inmate had

a cardiac arrest.       The Plaintiff administered CPR until security

guards and nurses arrived.        The inmate died at the scene.

        Soon thereafter, the Plaintiff began suffering from severe

chest pains, difficulty in breathing, nausea and vomiting, as well

as pain in both arms.      A nurse took his blood pressure and advised

that he be immediately taken to the CMCF clinic.             Another inmate

took him in a wheelchair to the clinic at 2:45 A.M.

        After arriving at the clinic, the nurses put him on oxygen and

on a cardiac monitor.      He requested an EKG, but the nurses on duty

told him that “the monitor will suffice.”               The Plaintiff had

previously suffered from a heart attack on June 3, 1999, prior to

his incarceration.        At the clinic, he was told to “calm down;

you’re not having another heart attack.”

        The Plaintiff’s symptoms continued, and he requested an IV

line.     This was refused.       At 4:10 A.M., a nurse brought in a

hypodermic needle, and the Plaintiff asked if it were morphine.

The nurse simply replied “it’s whatever the doctor ordered.”             At

5:00 A.M. a nurse brought him aspirin.             Finally, at about 5:15

A.M., Sgt. Summer came to check on him.           The Plaintiff begged him

to get him to a hospital.       Sgt. Summer left, and soon thereafter a

nurse told the Plaintiff that an ambulance was on the way.




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     Two and ½ hours after the onset of his initial symptoms, the

Plaintiff was transported to the University Medical Center and

treated by physicians.     The doctors immediately determined that he

had suffered from a heart attack, and they gave him the proper

medical care.   He was told by the physicians later that they were

“astounded” that he had survived.              The permanent damage to his

heart was much more severe to the delay in obtaining appropriate

treatment, according to the Plaintiff.

     The Plaintiff conceded that these Defendants had nothing

personal   against   him   and    were       simply    not   skilled   enough   to

recognize his cardiac event.        The Plaintiff charges that they did

not follow proper protocol regarding his symptoms; had protocol

been followed, they would have properly diagnosed his heart attack

soon after the symptoms began.

     The Court has carefully considered the facts as alleged by the

Plaintiff in conjunction with the applicable law regarding the

medical care that these Defendants are required to provide the

Plaintiff, an inmate in their custody.                The Plaintiff is reminded

that his rights under the United States Constitution are not

violated   simply    because     these       Defendants      were   negligent   or

inattentive.    Although actionable as a tort under common law,

medical malpractice does not create a constitutional claim.

     Assuming the facts as stated by the Plaintiff are accurate,

the treatment the Plaintiff received after his heart attack was


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sadly lacking.      Although this situation is regrettable, the Court

finds that the facts do not state a cause of action under 28 U.S.C.

§ 1983 or the United States Constitution. The inattention given to

the Plaintiff’s complaints was probably due to the peculiar fact

that one inmate had just died of a heart attack.            The odds of two

inmates having cardiac events within an hour of each other are

minimal; the medical staff probably surmised that the Plaintiff was

simply upset after having witnessed the other inmate’s death at

such a close proximity. This does not excuse their inattention and

poor procedures, but it would imply that no malice was involved.

     For these reasons, the Court finds that the Plaintiff’s claim has

no basis in law and must be dismissed pursuant to 28 U.S.C.              Section

1915(e)(2)(B)(i)(ii).        Indifference to a prisoner's serious medical

needs does constitute an actionable Eighth Amendment violation under

§1983.    Estelle v. Gamble, 429 U.S. 97, 105-07, 97 S.Ct. 285, 291, 50

L.Ed.2d 251 (1976); Jackson v. Cain, 864 F.2d 1235, 1244 (5th Cir.

1989).     However, the Fifth Circuit Court of Appeals has clearly stated

that negligent medical care does not constitute a valid section 1983

claim.    Mendoza v. Lynaugh, 989 F.2d 191, 193 (5th Cir. 1993).           Delay

in medical care can only constitute an Eighth Amendment violation if

there has been deliberate indifference, which results in substantial

harm.    Id., citing Wesson v. Oglesby, 910 F.2d 278, 284 (5th Cir. 1990)

(delay must constitute "deliberate indifference"); Shapley v. Nevada Bd.




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of State Prison Comm'rs, 766 F.2d 404, 407 (9th Cir. 1985) (delay must

result in "substantial harm”).

     Additionally, as the Fifth Circuit has stated, “[d]eliberate

indifference encompasses only the unnecessary and wanton infliction of

pain repugnant to the conscience of mankind.” McCormick v. Stalder, 105

F.3d 1059, 1061 (5th Cir. 1997).             The facts in the Plaintiff’s case

confirm that no Defendant or Defendant’s employee intended to inflict

pain of any kind.      The standard for finding “deliberate indifference”

is a subjective inquiry, and the prisoner must show that the jail

officials were actually aware of the risk, yet consciously disregarded

or ignored it. Farmer v. Brennan, 511 U.S. 825, 837-839 (1994).

Therefore, actual knowledge and conscious disregard of the risk of harm

to the plaintiff is required before liability can be found. Id. Actual

knowledge of the risk cannot be established on the part of the nurses

who treated the Plaintiff, according to the Plaintiff’s own testimony.

Furthermore, deliberate indifference cannot be simply inferred from a

prison official’s mere failure to act reasonably, i.e., from negligence

alone.    Lawson v. Dallas County, 286 F.3d 257, 262-63 (2002), citing

Hare v. City of Corinth, MS, 74 F.3d 633, 649 (5th Cir. 1996).

     The United States Constitution does not forbid negligence, and

Plaintiff’s claim is not a cognizable claim under 42 U.S.C. § 1983. For

these reasons, the Court finds that the Complaint filed in the instant

case fails to state a claim upon which relief may be granted, is legally



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frivolous, and should be dismissed under 28 U.S.C. § 1915(e)(2)(B)(i)

and (ii) with prejudice.

     IT IS, THEREFORE, ORDERED that the Complaint is dismissed with

prejudice and that a separate Final Judgment in favor of the Defendants

shall be entered on this date.

     THIS the 21st day of July, 2005.




                                       S/ Alfred G. Nicols, Jr.
                                     UNITED STATES MAGISTRATE JUDGE




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